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                            UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION
In re:                                          )       Bankruptcy No. 22-30245
                                                )       Chapter 7
JOSEPH LEROY MAYFIELD, JR.,                     )
                                                )       (Hearing Scheduled)
                        Debtor.                 )
             NOTICE OF MOTION FOR LEAVE TO WITHDRAW AS COUNSEL
                    FOR THE DEBTOR AND NOTICE OF HEARING
        TAKE NOTICE that Heather W. Culp and the law firm of Essex Richards, P.A. have filed a
Motion for Leave to Withdraw as Counsel for the Debtor and will bring it before the Court for a
hearing. A copy of the motion is attached.
       Your rights may be affected. You should read these papers carefully and discuss them
with your attorney, if you have one in this bankruptcy case. (If you do not have an attorney,
you may wish to consult one.)
        If you do not want the court to grant relief sought in motion or objection, or if you want the
court to consider your views on the matter, then within 14 days of this notice you or your attorney
must do three (3) things:
       1.     File with the Court a written response requesting that the Court hold a hearing
and explaining your position. File the response at:
            U.S. Bankruptcy Court, 401 W. Trade Street, Suite 2500, Charlotte, NC 28202.
            If you mail your request or response to the court for filing, you must mail it early enough
so the court will receive it on or before the date stated above.
         2. On or before the deadline stated above for written responses, you must also mail or
            fax a copy of your written request to:
            Heather W. Culp, Essex Richards, P.A., 1701 South Blvd., Charlotte, NC 28203 (fax:
            704-372-1357)
            U.S. Bankruptcy Administrator, Room 200, 402 W. Trade Street, Charlotte, NC 28202-
            1669 (fax: 704-344-6666)
      3. Attend hearing scheduled to be held August 8, 2022, at 9:30 a.m. at the United States
Bankruptcy Court, Courtroom 2B, 401 West Trade Street, Suite 2500, Charlotte, NC 28202.
         If you or your attorney do not take these steps, the court may decide that you do not oppose the
relief sought in the motion or objection and may enter an order granting that relief.
         This the 21st day of July, 2022.       /s/Heather W. Culp
                                                Heather W. Culp
                                                NC Bar No. 30386
                                                Attorney for the Debtor
                                                Essex Richards, P.A.
                                                1701 South Boulevard
                                                Charlotte, North Carolina 28203
                                                Tel: (704) 377-4300
                                                Fax: (704) 372-1357
                                                E-mail: Heather.Culp@essexrichards.com
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                         UNITED STATES BANKRUPTCY COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION

In re:                                         )       Bankruptcy No. 22-30245
                                               )
JOSEPH LEROY MAYFIELD, JR.,                    )       Chapter 7
                                               )
                       Debtor.                 )

         MOTION FOR LEAVE TO WITHDRAW AS COUNSEL FOR THE DEBTOR

       Heather W. Culp and the law firm of Essex Richards, P.A., counsel of record for the
above-referenced debtor Joseph Leroy Mayfield, Jr., move pursuant to Local Bankruptcy Rule
2091-1(b) and Rules 1.7(b) and 1.16(a)(1) of the North Carolina State Bar Rules of Professional
Conduct for entry of an order granting them leave to withdraw as Mr. Mayfield’s counsel of
record. In support of this motion, undersigned counsel states as follows:

       1.    On May 31, 2022, Mr. Mayfield filed a voluntary petition giving rise to this case.
Undersigned counsel assisted the Debtor with the preparation of the petition, schedules and
statements.

        2.      Mr. Mayfield’s initial meeting of creditors was held on June 29, 2022. An
attorney for one of Mr. Mayfield’s creditors attended and asked questions about certain lines of
Mr. Mayfield’s Official Form 122A-2 (Means Test Calculation). Mr. Mayfield’s meeting of
creditors is continued to July 27, 2022.

        3.     The questions about Mr. Mayfield’s means test calculation prompted undersigned
counsel to revisit the calculation. There is an error in line 16 (taxes) that, when corrected, results
the presumption of abuse arising in Mr. Mayfield’s case. 11 U.S.C. § 707(b).

       4.      Undersigned counsel informed Mr. Mayfield of this error on July 7, 2022 and has
had three conversations with him about it and the resulting options (two on July 7, 2022 and one
on July 14, 2022). The conversations deteriorated to such a degree that the representation of Mr.
Mayfield involves and is burdened by a concurrent conflict of interest that prevents movants
from providing competent and diligent representation to him. North Carolina Rule of
Professional Conduct (“the Rules” or “NC RPC”) 1.7(b)(1).

        5.     The North Carolina Rules of Professional Conduct require withdrawal from
representation if the representation will result in a violation of the Rules. NC RPC 1.16(a).
Continued representation of Mr. Mayfield will violate the concurrent conflict of interest rule set
out in NC RPC 1.7(b)(1).

         WHEREFORE, movants pray that the Court enter an Order granting this motion, allow
movants leave to withdraw as Mr. Mayfield’s counsel of record, and grant and such further relief
as is just and proper.



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   This the 21st day of July, 2022.   /s/Heather W. Culp
                                      Heather W. Culp
                                      NC Bar No. 30386
                                      Attorney for the Debtor
                                      Essex Richards, P.A.
                                      1701 South Boulevard
                                      Charlotte, North Carolina 28203
                                      Tel: (704) 377-4300
                                      Fax: (704) 372-1357
                                      E-mail: Heather.Culp@essexrichards.com




                                        3
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on the 21st day of July, 2022, I electronically filed the foregoing
NOTICE OF MOTION FOR LEAVE TO WITHDRAW AS COUNSEL FOR THE
DEBTOR AND NOTICE OF HEARING and MOTION FOR LEAVE TO WITHDRAW
AS COUNSEL FOR THE DEBTOR with the Clerk of Court using the CM/ECF system, which
will send notification of such filing to the parties registered for service via CM/ECF, including:

Shelley K. Abel, U.S. Bankruptcy Administrator
A. Burton Shuford, Chapter 7 Trustee

       I further certify that foregoing was this day served on the following parties listed below
by mailing a copy of the same in an envelope addressed to each party with proper postage
attached and deposited in an official depository under the exclusive care and custody of the
United States Postal Service:

And via e-mail to:
Joseph Leroy Mayfield, Jr.
11717 Smart Lane
Charlotte, NC 28277

Via e-mail only to jev@blancolaw.com:
James Vaughan
Blanco Tackabery

All on attached matrix.                      /s/Heather W. Culp
                                             Heather W. Culp
                                             NC Bar No. 30386
                                             Attorney for the Debtor
                                             Essex Richards, P.A.
                                             1701 South Boulevard
                                             Charlotte, North Carolina 28203
                                             Tel: (704) 377-4300
                                             Fax: (704) 372-1357
                                             E-mail: Heather.Culp@essexrichards.com




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                                                    Document           Page 5 of 6            Adam D. Lewis
0419-3                                         401 West Trade Street                          O’Connell, Attmore & Morris, LLC
Case 22-30245                                  Charlotte, NC 28202-1633                       280 Trumbull St.
Western District of North Carolina                                                            Hartford, CT 06103-3509
Charlotte
Thu Jul 21 11:36:40 EDT 2022
Amos Financial, LLC                            Ballantyne Residential POA                     Christopher J. McCarthy
3330 Skokie Valley Road, Suite 301             5970 Fairview Road, Suite 710                  Halloran & Sage, LLP
Highland Park, IL 60035-1044                   Charlotte, NC 28210-3124                       225 Asylum St.
                                                                                              Hartford, CT 06103-1503


City-County Tax Collector                      Cynthia Mayfield                               Elite Staging and Design, LLC
P O Box 31637                                  1000 E. Franklin Street                        P.O. Box 470038
Charlotte, NC 28231-1637                       Monroe, NC 28112-5026                          Charlotte, NC 28247-0038



Fairfield County Bank                          Fairfield County Bank                          First Niagara Bank, N.A.
714 Post Road                                  Fairfield County Bank Headquarters             c/o Halloran & Sage, LLP
Darien, CT 06820-4717                          150 Danbury Road                               Attn: Christopher J. McCarthy
                                               Ridgefield, CT 06877-3229                      225 Asylum Street
                                                                                              Hartford, CT 06103-1503

Fluvanna County Treasurer                      Hamilton Stephens Steele & Martin              Internal Revenue Service
34 Palmyra Way                                 525 North Tryon St., Suite 1400                P O Box 7346
P.O. Box 299                                   Charlotte, NC 28202-0215                       Philadelphia, PA 19101-7346
Palmyra, VA 22963-0299


Internal Revenue Service                       James E. Vaughn                                John Power Regan
P.O. Box 7317                                  Blanco Tackabery & Matamoros, PA               1200 Summer Street, Ste. 103
Philadelphia, PA 19101-7317                    P.O. Drawer 25008                              Stamford, CT 06905-5541
                                               Winston Salem, NC 27114-5008


John Regan                                     Keybank National Association                   Nancy R. Schlichting
1200 Summer Street                             c/o Halloran & Sage, LLP                       Flora Pettit, PC
Suite 103                                      Attn: Christopher J. McCarthy                  P.O. Box 2057
Stamford, CT 06905-5541                        225 Asylum Street                              530 East Main St.
                                               Hartford, CT 06103-1503                        Charlottesville, VA 22902-5336

North Carolina Department of Revenue           Oscar L. Suarez                                Planet Home Lending, LLC
Bankruptcy Unit                                Christopher J. McCarthy                        Attn: Customer Service
P O Box 1168                                   Halloran & Sage, LLP                           321 Research Parkway, Ste. 303
Raleigh, NC 27602-1168                         225 Asylum St.                                 Meriden, CT 06450-8342
                                               Hartford, CT 06103-1503

Shellpoint Mortgage Servicing                  U.S. Attorney General                          U.S. Attorney’s Office
P.O. Box 10826                                 U.S. Department of Justice                     Western District of North Carolina
Greenville, SC 29603-0826                      950 Pennsylvania Avenue, NW                    227 West Trade Street
                                               Washington, DC 20530-0001                      Suite 1650
                                                                                              Charlotte, NC 28202-1698

U.S. Bank Trust National Association           A. Burton Shuford                              Heather W. Culp
300 Delaware Avenue, 9th Floor                 4700 Lebanon Road,                             Essex Richards, P.A.
Wilmington, DE 19801-1607                      Suite #A-2                                     1701 South Boulevard
                                               Mint Hill, NC 28227-8265                       Charlotte, NC 28203-4727
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Joseph Leroy Mayfield Jr.                                Document    Page 6 of 6
11717 Smart Lane
Charlotte, NC 28277-3025




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)First Horizon Bank                                (d)North Carolina Department of Revenue              End of Label Matrix
                                                     Bankruptcy Unit                                      Mailable recipients   30
                                                     P.O. Box 1168                                        Bypassed recipients    2
                                                     Raleigh, NC 27602-1168                               Total                 32
